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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        GOPRO, INC.,
                                   7                                                        Case No. 16-cv-01944-SI (SI)
                                                       Plaintiffs,
                                   8
                                                v.                                          ORDER OF DISMISSAL UPON
                                   9                                                        SETTLEMENT
                                        360HEROS, INC.,
                                  10
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           The parties to the action, by their counsel, have advised the court that they have agreed to

                                  14   a settlement.

                                  15                   IT IS HEREBY ORDERED that this matter is DISMISSED WITH PREJUDICE.

                                  16   However, that if any party hereto certifies to this court, with proof of service of a copy thereon on

                                  17   opposing counsel, within ninety days from the date hereof, that settlement has not in fact occurred,

                                  18   the foregoing order shall be vacated and this cause shall forthwith be restored to the calendar for

                                  19   further proceedings.

                                  20          IT IS SO ORDERED.

                                  21   Dated: 5/21/18

                                  22                                                    ______________________________________
                                                                                        SUSAN ILLSTON
                                  23                                                    United States District Judge
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